            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                         CRIMINAL NO. 1:04CR64


UNITED STATES OF AMERICA                  )
                                          )
                                          )
             vs.                          )           ORDER
                                          )
KEVIN CHRISTOPHER MAKERSON                )
                                          )
                                          )


        THIS MATTER is before the Court on the Defendant’s motion for

reconsideration or, in the alternative, a notice of appeal filed December 1,

2008.

        In his motion, the Defendant argues that instead of denying him an

extension of time to file an appeal, the Court could have withdrawn the

September 5, 2008, order denying his motion for reduction of sentence,

“immediately reimposed the same Order and thus restart[ed] the ten (10)

day process for noticing an appeal.” Defendant’s Motion, at 1-2.

However, the Defendant cites no statutory authority or any Rule of Criminal

Procedure that would permit the Court to do so nor does the Court know of

such a procedure. The motion is denied.




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     IT IS, THEREFORE, ORDERED that Defendant’s motion for

reconsideration is hereby DENIED.

     IT IS FURTHER ORDERED that, in accordance with Defendant’s

desired alternative, the Clerk shall construe the Defendant’s motion as a

notice of appeal of the Court’s November 17, 2008, Order, and transmit

same to the Fourth Circuit Court of Appeals.



                                     Signed: December 9, 2008




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